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                                Exhibit
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                                                                       Gubarev et al. v. BuzzFeed, Inc. et al.
                                                Privilege Log of Documents Redacted by BuzzFeed, Inc. Based on Reporter's Privilege
BEGINNING BATES   END BATES NO.      PRIVILEGE BASIS             DATE                 FROM                  TO                CC                       DESCRIPTION
       NO.
BuzzFeed_000017 BuzzFeed_000021     Confidential source   12/23-12/24/2016     Ken Bensinger       Jessica Garrison                   Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege, as defined in
                                                                                                                                      BuzzFeed's response to Plaintiffs' Requests for
                                                                                                                                      Production.
BuzzFeed_000022   BuzzFeed_000028   Attorney-Client;      1/10/2017-1/11/2017 Ken Bensinger        Jessica Garrison                   Confidential communication seeking legal
                                    Confidential source                                                                               advice, or containing legal advice that reflects
                                                                                                                                      the mental impressions, conclusions, opinion
                                                                                                                                      and/or legal theories of counsel for BuzzFeed
                                                                                                                                      and/or Ben Smith;
                                                                                                                                      Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_000030   BuzzFeed_000030   Confidential source   1/24/2017            Ken Bensinger       Jessica Garrison                   Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_000031   BuzzFeed_000032   Confidential source   1/7/2017-1/10/2017   Ken Bensinger       Stuart Millar                      Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001692   BuzzFeed_001692   Confidential source   1/10/2017-1/11/2017 Miriam Elder         Sheera Frenkel                     Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001693   BuzzFeed_001693   Confidential source   1/13/2017            Sheera Frenkel      Miriam Elder                       Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001703   BuzzFeed_001704   Confidential source   1/5/2017-1/12/2017   Alberto Nardelli    Miriam Elder                       Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001706   BuzzFeed_001711   Confidential source   1/7/2017-1/12/2017   Miriam Elder        Ali Watkins                        Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001712   BuzzFeed_001712   Confidential source   1/11/2017            Miriam Elder        Confidential source                Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001719   BuzzFeed_001728   Confidential source   12/21/2016-          Mark Schoofs        Ben Smith                          Confidential communication containing
                                                          1/10/2017                                                                   information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.




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                                                                       Gubarev et al. v. BuzzFeed, Inc. et al.
                                                Privilege Log of Documents Redacted by BuzzFeed, Inc. Based on Reporter's Privilege
BEGINNING BATES   END BATES NO.      PRIVILEGE BASIS             DATE                FROM                   TO                CC                       DESCRIPTION
       NO.
BuzzFeed_001731 BuzzFeed_001731     Confidential source   1/11/2017; 1/15/2017 Ben Smith            Confidential source               Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001790   BuzzFeed_001792   Confidential source   1/23/2017           Ken Bensinger         Confidential source               Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001829   BuzzFeed_001832   Confidential source   1/24/2017           Confidential source   Ken Bensinger                     Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001848   BuzzFeed_001851   Confidential source   1/30/2017           Confidential source   Ken Bensinger                     Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001852   BuzzFeed_001856   Confidential source   1/30/2017           Ken Bensinger         Confidential source               Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001857   BuzzFeed_001861   Confidential source   1/30/2017           Confidential source   Ken Bensinger                     Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_001865   BuzzFeed_001865   Confidential source   1/15/2017           Confidential source   Ken Bensinger                     Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_002097   BuzzFeed_002109   Confidential source   1/11/2017           Miriam Elder          Ali Watkins                       Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_002245   BuzzFeed_002246   Confidential source   1/20/2017           Hayes Brown           Craig Silverman;                  Confidential communication containing
                                                                                                    Miriam Elder                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_002283   BuzzFeed_002285   Confidential source   2/1/2017            Ali Watkins           Miriam Elder                      Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_002392   BuzzFeed_002392   Confidential source   1/11/2017           Mark Schoofs          Tom Namako                        Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_002398   BuzzFeed_002399   Confidential source   1/11/2017           Tom Namako            Mark Schoofs                      Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_003263   BuzzFeed_003264   Confidential source   1/30/2017           Confidential source   Jeremy Singer-Vine                Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.


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                                                                       Gubarev et al. v. BuzzFeed, Inc. et al.
                                                Privilege Log of Documents Redacted by BuzzFeed, Inc. Based on Reporter's Privilege
BEGINNING BATES   END BATES NO.      PRIVILEGE BASIS             DATE                FROM                   TO                CC                       DESCRIPTION
       NO.
BuzzFeed_003265 BuzzFeed_003266     Confidential source   2/6/2017            Jeremy Singer-Vine Confidential source                  Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_003267   BuzzFeed_003269   Confidential source   2/7/2017            Confidential source   Jeremy Singer-Vine                Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_003270   BuzzFeed_003272   Confidential source   2/8/2017            Jeremy Singer-Vine Confidential source                  Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_003273   BuzzFeed_003276   Confidential source   2/8/2017            Confidential source   Jeremy Singer-Vine                Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_004048   BuzzFeed_004048   Confidential source   12/23/2016          Ben Smith             Aram Roston; Mark                 Confidential communication containing
                                                                                                    Schoofs                           information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_004189   BuzzFeed_004191   Confidential source   1/11/2017           Mark Schoofs          Ben Smith;                        Confidential communication containing
                                                                                                    Miriam Elder                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_004493   BuzzFeed_004493   Confidential source   1/12/2017           Ben Smith             William F. B.                     Confidential communication containing
                                                                                                    O'Reilly                          information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_004497   BuzzFeed_004497   Confidential source   1/12/2017           William F.B. O'Reilly Ben Smith                         Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_004606   BuzzFeed_004606   Confidential source   1/12/2017           Confidential source   Ben Smith                         Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_004607   BuzzFeed_004607   Confidential source   1/12/2017           Confidential source   Ben Smith                         Confidential communication containing
                                                                                                                                      information that is protected from disclosure by
                                                                                                                                      the Reporter’s Privilege.
BuzzFeed_004608   BuzzFeed_004608   Confidential source   1/12/2017           Ben Smith             Carole Robinson;                  Confidential communication containing
                                                                                                    Katie Rayford;                    information that is protected from disclosure by
                                                                                                    Mark Schoofs;                     the Reporter’s Privilege.
                                                                                                    Mat Honan;
                                                                                                    Miriam Elder;
                                                                                                    Shani Hilton;
BuzzFeed_004609   BuzzFeed_004609   Confidential source   1/12/2017           Ben Smith             Confidential source               Confidential communication containing
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                                                                       Gubarev et al. v. BuzzFeed, Inc. et al.
                                                Privilege Log of Documents Redacted by BuzzFeed, Inc. Based on Reporter's Privilege
BEGINNING BATES   END BATES NO.      PRIVILEGE BASIS             DATE                FROM                   TO                   CC                          DESCRIPTION
       NO.
BuzzFeed_004610 BuzzFeed_004610     Confidential source   1/12/2017           Confidential source   Ben Smith                              Confidential communication containing
                                                                                                                                           information that is protected from disclosure by
                                                                                                                                           the Reporter’s Privilege.
BuzzFeed_004612   BuzzFeed_004612   Confidential source   1/12/2017           Shani Hilton          Ben Smith             Carole Robinson; Confidential communication containing
                                                                                                                          Katie Rayford;   information that is protected from disclosure by
                                                                                                                          Mark Schoofs;    the Reporter’s Privilege.
                                                                                                                          Mat Honan;
                                                                                                                          Miriam Elder

BuzzFeed_004613   BuzzFeed_004614   Confidential source   1/12/2017           Carole Robinson       Shani Hilton          Ben Smith;        Confidential communication containing
                                                                                                                          Katie Rayford;    information that is protected from disclosure by
                                                                                                                          Mark Schoofs;     the Reporter’s Privilege.
                                                                                                                          Mat Honan;
                                                                                                                          Miriam Elder
BuzzFeed_004621   BuzzFeed_004622   Confidential source   1/12/2017           Mark Schoofs          Carole Robinson       Shani Hilton;     Confidential communication containing
                                                                                                                          Ben Smith;        information that is protected from disclosure by
                                                                                                                          Katie Rayford;    the Reporter’s Privilege.
                                                                                                                          Mat Honan
BuzzFeed_006684   BuzzFeed_006684   Confidential source   2/8/2017            Confidential source   Ben Smith                               Confidential communication containing
                                                                                                                                            information that is protected from disclosure by
                                                                                                                                            the Reporter’s Privilege.
BuzzFeed_006685   BuzzFeed_006685   Confidential source   2/8/2017            Ben Smith             Confidential source                     Confidential communication containing
                                                                                                                                            information that is protected from disclosure by
                                                                                                                                            the Reporter’s Privilege.
BuzzFeed_006686   BuzzFeed_006686   Confidential source   2/8/2017            Confidential source   Ben Smith                               Confidential communication containing
                                                                                                                                            information that is protected from disclosure by
                                                                                                                                            the Reporter’s Privilege.
BuzzFeed_007745   BuzzFeed_007745   Confidential source   12/30/2016          Ben Smith             Mark Schoofs                            Confidential communication containing
                                                                                                                                            information that is protected from disclosure by
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